        Case 2:20-cv-01397-CBM-KS Document 48 Filed 04/22/21 Page 1 of 3 Page ID #:2961



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                8                       UNITED STATES DISTRICT COURT
                9                     CENTRAL DISTRICT OF CALIFORNIA
               10
                  E.K., a minor, by and through her           Case No.     2:20-CV-01397-CBM-KSx
               11 Guardian ad Litem, MELINDA
                  KELLEY, STEPHEN KELLEY,                     JUDGMENT [JS-6]
               12 MELINDA KELLEY,
                                                              Dept:      8B
               13                     Plaintiffs,             Judge:     Hon. Consuelo B. Marshall
               14 v.                                          Complaint Filed: February 12, 2020
                                                              Trial Date:      None
               15 REDONDO BEACH UNIFIED
                  SCHOOL DISTRICT,
               16
                               Defendants.
               17
               18
                          A Motion for Summary Judgment Hearing was held on December 8, 2020.
               19
                    On April 14, 2021, the Court issued Findings of Facts and Conclusions of Law
               20
                    affirming the November 15, 2019 Decision of the Administrative Law Judge.
               21
                          IT IS NOW, THEREFORE, HEREBY ORDERED, ADJUDGED AND
               22
                    DECREED that judgment is entered in this action as follows:
               23
                          1.    Defendant Redondo Beach Unified School District shall have judgment
               24
                    against Plaintiffs E.K., a minor, by and through her Guardian ad Litem, MELINDA
               25
                    KELLEY, STEPHEN KELLEY, MELINDA KELLEY;
               26
                          2.    Plaintiffs E.K., a minor, by and through her Guardian ad Litem,
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                    MELINDA KELLEY, STEPHEN KELLEY, MELINDA KELLEY shall recover
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                                                      JUDGMENT
        Case 2:20-cv-01397-CBM-KS Document 48 Filed 04/22/21 Page 2 of 3 Page ID #:2962



               1 nothing from Defendant Redondo Beach Unified School District; and
               2         3.    Plaintiffs E.K., a minor, by and through her Guardian ad Litem,
               3 MELINDA KELLEY, STEPHEN KELLEY, MELINDA KELLEY and Defendant
               4 Redondo Beach Unified School District shall each bear their own costs.
               5         The Clerk is ordered to enter this Judgment.
               6
                    Dated: APRIL 22, 2021
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               9                                      Honorable Judge Consuelo B. Marshall
                                                      United States District Judge,
               10                                     Central District of California
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                1                             CERTIFICATE OF SERVICE
                2
                    Case Name: E.K., et al. v. Redondo Beach USD
                3
                    No.: 2:20-CV-01397-CBM-KS
                4
                        On April 19, 2021, I filed the following document(s) described as
                5 JUDGMENT electronically through the CM/ECF system. All parties on the Notice
                  of Electronic Filing to receive electronic notice have been served through the
                6 CM/ECF system.
                7          The party(ies) listed below are currently on the list to receive e-mail notices
                    for this case.
                8
                  Rosa K. Hirji                                Attorneys for Plaintiffs
                9 Diana Maltz
                  Law Offices of Hirji & Chau, LLP
               10 5173 Overland Avenue
                  Culver City, CA 90230
               11 (310) 391-0330
                  (310) 943-0311
               12 rosa@rkhlawoffice.com
                  diana@rkhlawoffice.com
               13
               14
                          BY EMAIL: I have caused the above-mentioned document(s) to be
               15          electronically served on the above-mentioned person(s), who are currently
                           on the list to receive e-mail notices for this case.
               16
               17         Executed on April 19, 2021, at Cerritos, California.
               18          I declare under penalty of perjury under the laws of the State of California
                    that the foregoing is true and correct.
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               20                                          /s/ Marlon C. Wadlington
                                                            Marlon C. Wadlington
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